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 8                                      IN THE UNITED STATES DISTRICT COURT

 9                                          EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                                    CASE NO. 2:13-cr-00165-TLN
12                                          Plaintiff,            AMENDED STIPULATION
                                                                  REGARDING EXCLUDABLE
13   v.                                                           TIME PERIODS UNDER SPEEDY
                                                                  TRIAL ACT; FINDINGS AND
14   CHARLES CONNOR AND STACEY                                    ORDER
     MISTLER,
15                                                                Date : October 17, 2013
                                            Defendants.           Time: 9:30 a.m.
16                                                                Judge: Troy L. Nunley

17

18             Defendant Charles Connor, by and through Linda M. Parisi, his counsel of record, Defendant

19 Stacey Mistler by and through her counsel of record, Matthew Bockmon, and plaintiff, by and
20 through its counsel, Olusere Olowoyeye hereby stipulate as follows:

21             1.         By previous order, this matter was set for status on October 17, 2013.

22             2.        By this stipulation, the defendants now moves to continue the status conference until

23 December 5, 2013, at 9:30 a.m. and to exclude time between October 17, 2013 and December 5,

24 2013 under Local Code T4. The United States does not oppose this request.

25             3.        The parties agree and stipulate, and request that the Court find the following:

26                       a.        The United States has represented that the discovery associated with this case

27             includes investigative reports and related documents.

28                                                            1
          Stipulation and Order for Continuance of Status
29        Hearing and for Exclusion of Time

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 1          b.        Counsel for Mr. Connor and Ms. Mistler need additional time to consult, to review

 2 discovery, and to discuss potential resolutions, including setting the matter for trial.

 3          c.        Counsel for defendants Mr. Connor and Ms. Mistler believe that failure to grant the

 4 above-requested continuance would deny them the reasonable time necessary for effective

 5 preparation, taking into account the exercise of due diligence.

 6          d.        The United States Attorney agrees to the continuance.

 7          e.        All counsel agrees to the continuance.

 8          f.        For the purpose of computing time under the Speedy Trial Act, 18 U.S.C.§ 3161, et

 9 seq., within which trial must commence, the time period of October 17, 2013 to December 5, 2013,

10 inclusive, is deemed excludable pursuant to 18 U.S.C.§ 316l(h)(7)(A), B(iv) [Local CodeT4]

11 because it results from a continuance granted by the Court at defendant's request on the basis of the

12 Court's finding that the ends of justice served by taking such action outweigh the best interest of the

13 public and the defendant in a speedy trial.

14          4.        Nothing in this stipulation and order shall preclude a finding that other provisions of

15 the Speedy Trial Act dictate that additional time periods are excludable from the period within which

16 a trial must commence.

17 Dated: October 10, 2013

18                                                           Respectfully Submitted,

19                                                           /s/ Linda M. Parisi by e-mail authorization
                                                             ______________________________________
20
                                                             Linda M. Parisi
21                                                           Attorney for Charles Connor

22
     Dated: October 10, 2013                                 Respectfully submitted
23
                                                             Federal Defender
24                                                           /s/ Linda M. Parisi by e-mail authorization
25                                                           ____________________________________
                                                             MATTHEW C. BOCKMON
26                                                           Assistant Federal Defender
27                                                           Attorney for Defendant STACEY MISTLER

28                                                       2
       Stipulation and Order for Continuance of Status
29     Hearing and for Exclusion of Time

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 1

 2 Dated: October 10, 2013                               BENJAMIN B. WAGNER United States Attorney

 3
                                                                 /s/ Linda M. Parisi by e-mail authorization
 4                                                               _______________________________________
 5                                                               OLUSERE OLOWOYEYE
                                                                 Assistant U.S. Attorney
 6                                                               Attorney for Plaintiff

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 8
                                                         ORDER
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10           Based on the reasons set forth in the stipulation of the parties filed on October 10, 2013, and

11   good cause appearing therefrom, the Court adopts the stipulation of the parties in its entirety. IT IS

12    HEREBY ORDERED that the status conference currently set for October 17, 2013, be vacated and
13   that a status conference be set for Thursday, December 5, 2013, at 9:30 a.m. The Court finds that the
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      ends of justice to be served by granting a continuance outweigh the best interests of the public and
15
     the defendants in a speedy trial. Accordingly, IT IS HEREBY ORDERED that, for the reasons stated
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       in the parties’ October 10, 2013 stipulation, the time within which the trial of this matter must be
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18 commenced under the Speedy Trial Act is excluded during the time period of October 17, 2013,

19 through and including December 5, 2013, pursuant to 18 U.S.C. §3161(h)(7)(A) and (B)(iv) and
20 Local Code T4.

21
     Dated: October 11, 2013
22

23

24

25                                                                        Troy L. Nunley
                                                                          United States District Judge
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       Stipulation and Order for Continuance of Status
29     Hearing and for Exclusion of Time

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